 1   AARON KAUFMANN, SBN 148580
     GISELLE OLMEDO, SBN 294750
 2   LEONARD CARDER, LLP
 3   1999 Harrison Street, Suite 2700
     Oakland, CA 94612
 4   Telephone: (510) 272-0169
     Facsimile: (510) 272-0174
 5   akaufmann@leonardcarder.com
     golmedo@leonardcarder.com
 6
     CAROLE VIGNE, SBN 251829
 7   GEORGE A. WARNER, SBN 320241
     LEGAL AID AT WORK
 8   180 Montgomery Street, Suite 600
 9   San Francisco, CA 94104
     Telephone: (415) 864-8848
10   Facsimile: (415) 593-0096
     cvigne@legalaidatwork.org
11   gwarner@legalaidatwork.org
12   Attorneys for Plaintiffs
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
     MARIA DE LA LUZ PEREZ BAUTISTA, LUZ )              Case No. ______________
15   PEREZ BAUTISTA and SALVADORA                   )   COMPLAINT, PUTATIVE CLASS ACTION
     CORREA, on behalf of themselves and all others )   AND COLLECTIVE ACTION FOR
16                                                  )
     similarly situated,                            )   DAMAGES FOR:
                                                    )   (1) Failure to Pay Wages Owed at Separation,
17
                                                    )   Calif. Labor Code §§ 201, 203;
18                 Plaintiffs,                      )   (2) Failure to Furnish Accurate Wage
                                                    )   Statements, Calif. Labor Code § 226;
19                                                  )   (3) Failure to Pay Minimum Wages Under
       v.                                           )   California Law, Calif. Labor Code §§ 1194,
20                                                  )
                                                    )   1194.2;
21                                                  )   (4) Failure to Pay San Francisco Minimum
     JUUL LABS, INC., COALITION FOR                 )   Wage, S.F. Admin Code § 12R;
22   REASONABLE VAPING REGULATION,                  )   (5) Failure to Pay Overtime Wages, Calif.
     LONG YING INTERNATIONAL, INC.,                 )   Labor Code §§ 510, 1194;
23   DAVID M. HO, and DOES 1-10 inclusive,          )   (6) Failure to Reimburse Business Expenses,
                                                    )   Calif. Labor Code § 2802;
24                                                  )
                                                    )   (7) Failure to Provide Meal Periods, Calif.
25                 Defendants.                      )   Labor Code §§ 226.7, 512;
                                                    )   (8) Violations of Unfair Competition Law,
26                                                  )   Calif. Bus. & Profs. Code § 17200 et seq.;
                                                    )   (9) Failure to Pay Overtime Wages, FLSA, 29
27                                                  )   U.S.C. § 207.
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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1                                        I.     INTRODUCTION

 2          1.      Plaintiffs Maria de la Luz Perez Bautista, Luz Perez Bautista, and Salvadora Correa

 3   (“Plaintiffs”), on behalf of themselves and other campaign workers, bring a collective action for

 4   federal overtime pay, under the Fair Labor Standards Act (FLSA), 29 U.S.C. § 216(b), and a class

 5   action under Fed. R. Civ. Proc. Rule 23(b)(3) for state and local wage and hour claims arising out

 6   of their work as so-called “independent contractors” for the Yes on C Campaign (“Campaign”) in

 7   San Francisco in 2019.

 8          2.      In the run-up to the November 5, 2019 election, the Campaign hired approximately

 9   450 campaign workers to phone bank, canvass, and perform administrative assistant tasks

10   (“Campaign Workers”) to support Defendant Juul Labs, Inc.’s efforts to pass Proposition C, which

11   would have overturned a San Francisco ordinance suspending the sale of electronic cigarettes in the

12   city, allowing for the sale of electronic cigarettes in San Francisco by Defendant Juul Labs, Inc.

13   and others.

14          3.      This Campaign was funded by Defendant Juul Labs, Inc. (“Juul”) and operated by

15   the three other defendants named herein: The Coalition for Reasonable Vaping Regulation, a non-

16   profit run by a Juul executive and incorporated for the purpose of advocating for policies that

17   would allow for the continued sale of electronic cigarettes; Long Ying International, Inc., a

18   campaign operator based in San Francisco; and David Ho, the CEO for Long Ying International

19   (collectively “Defendants”).

20          4.      Defendants classified Plaintiffs and the Campaign Workers as independent

21   contractors, even though the workers served Defendants as employees for purposes of the federal,

22   state, and local wage-and-hour protections giving rise to the claims averred herein. Campaign

23   Workers were not issued legally compliant pay statements and not timely paid all accrued wages

24   upon separation of their employment. Those working at the phone banks and canvassing in the

25   same workday (“Hybrid Campaign Workers”) were not paid for their travel time between work

26   locations; were not paid overtime premium pay; were not provided legally required off-duty meal

27   breaks; and were not reimbursed for work-related travel expenses.

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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          5.        On September 30, 2019 or October 1, 2019, Defendants abruptly laid off Plaintiffs

 2   and the Campaign Workers after Juul announced that it would no longer actively support the

 3   Campaign. The Campaign informed the Campaign that the campaign was over, that there was no

 4   more work for them, and that they could pick up their final checks three or four days later.

 5                                          II.         JURISDICTION

 6          6.        This Court has jurisdiction over this action under the FLSA, 29 U.S.C. §§ 207,

 7   216(b), pursuant to 28 U.S.C. § 1331.

 8          7.        This Court has jurisdiction over Plaintiffs’ state and local law claims pursuant to 28

 9   U.S.C. § 1367.

10                        III.    VENUE AND INTRADISTRICT ASSIGNMENT

11          8.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

12   substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in the City and

13   County of San Francisco, and within the division and courthouse in which this action has been

14   commenced.

15                                                IV.     PARTIES

16   A.     PLAINTIFFS

17          9.        Plaintiff Maria de la Luz Perez Bautista (“Maria Perez Bautista”) resides in

18   California. She worked for the Yes on C Campaign as a phone bank caller and door-to-door

19   canvasser from approximately August 17, 2019 to September 30, 2019.

20          10.       Plaintiff Luz Illimani Ahnun Ixchel Perez Bautista (“Luz Perez Bautista”) resides in

21   California. She worked for the Yes on C Campaign as a phone bank caller, door-to-door canvasser,

22   and administrative assistant from approximately August 17, 2019 to October 1, 2019.

23          11.       Plaintiff Salvadora Correa resides in California. She worked for the Yes on C

24   Campaign as a phone bank caller and door-to-door canvasser from approximately August 2019 to

25   October 1, 2019.

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                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   B.     DEFENDANTS

 2          12.     Defendant Juul Labs, Inc. (“Juul”) is a foreign stock corporation formed in

 3   Delaware with its principal place of business in San Francisco, California. Juul is an electronic

 4   cigarette producer. Juul was, at all times relevant to this Complaint, an employer covered by the

 5   FLSA, the California Labor Code, Industrial Welfare Commission (“IWC”) Wage Order No. 4, the

 6   General Minimum Wage Order, and the San Francisco Administrative Code.

 7          13.     Defendant Coalition for Reasonable Vaping Regulation (the “Coalition”) is a

 8   domestic nonprofit corporation with its principal place of business in San Francisco, California.

 9   The Coalition was incorporated on July 3, 2019. The Chief Executive Officer of the Coalition, Jon

10   Berrier, is also a Senior Director of Public Affairs at Juul. In 2019, Juul lent the Coalition

11   $15,500,000 and contributed another $151,574 in non-monetary contributions to the Coalition.

12   The Coalition received contributions of $710 from sources other than Juul. The Coalition has

13   outstanding debts of over $15,500,500 as of October 31, 2019. Juul is the creditor for the vast

14   majority of these debts. 1 On information and belief, the Coalition and Juul are each other’s alter

15   egos and form a single enterprise. The Coalition was, at all times relevant to this Complaint, an

16   employer covered by the FLSA, the California Labor Code, IWC Wage Order No. 4, the General

17   Minimum Wage Order, and the San Francisco Administrative Code.

18          14.     Defendant Long Ying International, Inc. (“Long Ying”) is a domestic stock

19   corporation with its principal place of business in San Francisco, California. Per the firm’s

20   website, “Long Ying provides a full complement of public affairs and advocacy services. From

21   lobbying at the municipal and state levels, to grassroots organizing, we use our relationships to

22   deliver results for our clients.” The Coalition for Reasonable Vaping Regulation paid Long Ying

23   $4,029,791 in 2019. Long Ying was, at all times relevant to this Complaint, an employer covered

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       Information about the Coalition’s spending and payments comes from reports filed with the City
26   and County of San Francisco’s Ethics Commission. The Coalition’s most recent filing is available
     at https://public.netfile.com/Pub2/RequestPDF.aspx?id=183492120, and all filings are accessible at
27   https://public.netfile.com/Pub2/AllFilingsByFiler.aspx?id=180923032. Aggregated spending data
     is available at https://public.tableau.com/shared/PXXRRT6ZM?:display_count
28   =y&:origin=viz_share_link&:embed=y.
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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   by the FLSA, the California Labor Code, IWC Wage Order No. 4, the General Minimum Wage

 2   Order, and the San Francisco Administrative Code.

 3          15.     Defendant David Ho is the Chief Executive Officer of Long Ying and the managing

 4   member of Long Ying Consulting, LLC. He is also a registered lobbyist in the City and County of

 5   San Francisco. Between April 2019 and May 2019, David Ho was paid $20,000 from Juul for

 6   lobbying activity. 2 David Ho controlled and was intimately involved in the day-to-day operations

 7   of Long Ying and both determined and instituted the unlawful wage and hour practices alleged

 8   herein. David Ho is and, at all times relevant to this Complaint, was an employer covered by the

 9   FLSA, the California Labor Code, IWC Wage Order No. 4, the General Minimum Wage Order,

10   and the San Francisco Administrative Code, and he has violated or caused to be violated the

11   provisions of IWC Wage Order No. 4 and General Minimum Wage Ordinance regulating minimum

12   wages and/or hours and days of work as well as Labor Code §§ 203, 226, 226.7, 1194, and 2802.

13   See Labor Code § 558.1. As such, he is personally liable for the Wage Order and Labor Code

14   violations cited above.

15          16.     As a result of the conduct alleged herein, Defendants are each joint employers of

16   Plaintiffs and the Campaign Workers, and Defendants are jointly and severally liable for violations

17   of applicable San Francisco, California, and federal law.

18          17.     Plaintiffs are ignorant of the true names and capacities of Doe Defendants and

19   therefore sue them by fictitious names. Plaintiffs will amend this Complaint to allege the true

20   names and capacities of the Doe Defendants when ascertained. Plaintiffs are informed and believe,

21   and thereon allege, that each of the Doe Defendants is responsible in some manner for the

22   occurrences alleged herein. Plaintiffs are further informed and believe, and allege thereon, that at

23   all relevant times, Doe Defendants have held executive positions with Defendants, and/or have

24   acted on behalf of Defendants by exercising decision-making responsibility for and by establishing

25   unlawful wage and hour practices or policies for Defendants. Plaintiffs are informed and believe,

26   and on that basis allege, that at all times relevant to this Complaint, Doe Defendants, and each of

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       Information about David Ho’s lobbying activity can be found at https://netfile.com/lobby
     istpub/#/sfo/detail/lobbyist/SFO-154591/2019/05 and https://netfile.com/lobbyistpub/#/sfo
28   /detail/lobbyist/SFO-154591/2019/04.
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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   them, acted as an employer of Plaintiffs and the members of the Class, defined below, within the

 2   definition of the FLSA and California’s Labor Code, IWC Wage Order No. 4, Minimum Wage

 3   Order, and San Francisco’s Minimum Wage Ordinance (codified in Chapter 12 of the San

 4   Francisco Administrative Code).

 5          18.     Collectively, the Defendants are referred throughout as the “Yes on C Campaign,”

 6   the “Campaign,” or “Defendants.”

 7                                    V.      STATEMENT OF FACTS

 8          19.     In May 2019, Juul’s Vice President of Supply and Demand Planning filed a

 9   proposed ballot measure that would overturn a San Francisco ordinance suspending the sale of

10   electronic cigarettes in the city, allowing for the continued sale of electronic cigarettes in San

11   Francisco by Juul and others.

12          20.     On or about June 24, 2019, Juul and/or the Coalition hired David Ho and Long Ying

13   to assist with “campaign consulting and management services.” However, the Coalition was not

14   incorporated until July 3, 2019, the same day that the Coalition and Juul announced it had gathered

15   around 20,000 signatures to put the measure on the November 5, 2019 San Francisco ballot.

16          21.     On July 10, 2019, the San Francisco Department of Elections certified Proposition C

17   for the November 5, 2019 ballot, and assigned the proposition the letter C on August 12, 2019.

18   The measure is hereinafter referred to as Proposition C.

19          22.     On or around August 15, 2019, Plaintiffs Luz Perez Bautista and Maria Perez

20   Bautista interviewed for jobs with the Yes on C Campaign at the campaign offices at 25 Taylor

21   Street in San Francisco.

22          23.     Plaintiff Luz Perez Bautista was interviewed by an administrator with the Coalition

23   and/or Long Ying. Plaintiff Luz Perez Bautista was told that the Campaign was hiring Spanish

24   speakers to work as canvassers and phone bankers for the Campaign. Plaintiff Luz Perez Bautista

25   was told that she was hired to perform canvassing and phone banking work, and that she would

26   start approximately two days later, on or around August 17.

27          24.     Plaintiff Maria Perez Bautista was interviewed by another administrator with the

28   Coalition and/or Long Ying. Plaintiff Maria Perez Bautista was also told that the Campaign was
                                                     5
                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   hiring Spanish speakers to work as canvassers and phone bankers for the Campaign. Plaintiff

 2   Maria Perez Bautista was hired to perform canvassing and phone banking work.

 3           25.      As part of the hiring process, Plaintiffs Luz Perez Bautista and Maria Perez Bautista

 4   were required to sign an agreement titled “Independent Contractor Agreement” and fill out a W-9

 5   form. The “Independent Contractor Agreement” was signed by David Ho on behalf of Long Ying.

 6           26.      Plaintiff Salvadora Correa also interviewed for a job with the Yes on C Campaign at

 7   the campaign offices at 25 Taylor Street in San Francisco in August 2019, soon after Plaintiffs Luz

 8   Perez Bautista and Maria Perez Bautista were hired. At the end of the interview, the administrator

 9   hired Plaintiff Salvadora Correa and explained that she would be classified as an independent

10   contractor and would receive a 1099 tax document, as a result.

11           27.      The phone banking and canvassing operations were run on a day-to-day basis by a

12   group of Campaign managers and administrators that were paid in part or in whole by the

13   Coalition.

14           28.      On information and belief, David Ho oversaw the phone banking and canvassing

15   operation at the office. On information and belief, David Ho regularly communicated with

16   Campaign managers and administrators and held meetings with these managers at the 25 Taylor

17   Street office.

18           29.      Plaintiffs and other Campaign Workers were assigned to do phone banking,

19   canvassing, or both for the Campaign.

20           30.      From Monday through Thursday, the Campaign operated two shifts. Typically, the

21   first phone-banking shift ran four hours. The second shift also ran four hours. Campaign Workers

22   either continued phone banking or performed canvassing during the second shift. On Saturdays

23   and Sundays, the Campaign only operated a single four-hour shift.

24           31.      Plaintiffs and Campaign Workers received emails before shifts that instructed them

25   which Campaign office they were expected to show up to, and at what time they were required to

26   show up.

27           32.      Plaintiffs and Campaign Workers usually started their work at the Campaign’s 25

28   Taylor Street office for the first shift. They were required to sign a paper sign-in sheet at the
                                                         6
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   entrance of the office. Plaintiffs and Campaign Workers were required to sign out when the shift

 2   ended.

 3             33.   Plaintiffs and Campaign Workers called San Francisco voters using telephonic and

 4   computer equipment the Campaign provided them. Campaign software directed them whom to

 5   call, and the Campaign provided a script prepared by the Coalition directing them what to say on

 6   these calls.

 7             34.   Plaintiffs and Campaign Workers were paid an hourly rate of $25 for working

 8   phone-banking shifts.

 9             35.   Some campaign workers, including at times Plaintiff Salvadora Correa, returned to

10   25 Taylor Street for a second shift of phone banking. These workers called San Francisco voters in

11   the same manner as described in the preceding paragraphs.

12             36.   Many Campaign Workers, including Plaintiffs, performed a second four-hour shift

13   for the Campaign doing door-to-door canvassing within San Francisco. Those campaign workers

14   who worked both a phone bank and a canvas shift in the same workday are referred herein as

15   “Hybrid Campaign Workers.”

16             37.   The Plaintiffs and Hybrid Campaign Workers doing canvassing were often

17   instructed to show up at 1001 Clement Street. Sometimes, the Hybrid Campaign Workers doing

18   canvassing had an hour or less to travel from the 25 Taylor Street office to the 1001 Clement Street

19   office.

20             38.   The Coalition provided Plaintiffs and Campaign Workers with Campaign materials

21   and tablets to perform the canvassing work. The workers picked up these tools from 1001 Clement

22   Street at the beginning of each shift. All three Plaintiffs performed at least some canvassing shifts

23   starting from the 1001 Clement Street office.

24             39.   During each canvassing shift, the Campaign staff directed Campaign Workers as to

25   which neighborhoods they were to canvas that day. Once in their assigned neighborhoods,

26   Plaintiffs and Campaign Workers were required to engage with specific voters at specific

27   addresses. The relevant voter information was provided to Plaintiffs and Campaign Workers

28   through software on the tablets.
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                             CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1           40.    Campaign staff instructed the Plaintiffs and Campaign Workers to tell potential

 2   voters about the upcoming election, tell the potential voters that they supported Proposition C, and

 3   encourage the potential voters to support the Proposition.

 4           41.    Plaintiffs and the Campaign Workers were paid by the hour for the canvassing

 5   work.

 6           42.    The Campaign Workers who used their personal cars to transport themselves and

 7   other workers during canvassing were reimbursed an additional amount per shift.

 8           43.    The Campaign frequently assigned Plaintiff Maria Perez Bautista, and other Hybrid

 9   Campaign Workers, to work at 1001 Clement Street after working at 25 Taylor Street. Plaintiffs

10   Salvadora Correa and Luz Perez Bautista also worked shifts at the 1001 Clement Street office after

11   working at the 25 Taylor Street office.

12           44.    Plaintiffs traveled from the Taylor Street location to the Clement Street location by

13   public transit. It takes approximately 35 minutes—and often longer—to travel between 25 Taylor

14   Street and 1001 Clement Street via public transit.

15           45.    Plaintiffs and the Hybrid Campaign Workers were not compensated for the time it

16   took to travel between the two Campaign work sites—25 Taylor Street and 1001 Clement Street.

17           46.    Plaintiffs and other Hybrid Campaign Workers at times did not have a 30 minute

18   uninterrupted meal period. For example, Plaintiff Maria Perez Bautista frequently ate on the bus

19   while in transit to her canvassing assignment.

20           47.    The Campaign opened a third office in the Mission District of San Francisco in late

21   September. During the second half of September, some Hybrid Campaign Workers, including

22   Plaintiff Salvadora Correa, were assigned to work canvassing shifts at the Mission District office

23   instead of at the Clement Street office.

24           48.    About a week after Plaintiff Luz Perez Bautista was hired, she was promoted to a

25   new position in which she provided administrative support for the other Campaign Workers. Such

26   work included setting up the 25 Taylor office for phone banking, collecting worker sign-in sheets,

27   calling workers who did not show up for work, preparations for canvassing operations, and

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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   assisting with other administrative and clerical tasks around the office. The Campaign employed at

 2   least 20 other Campaign Workers to perform similar work.

 3          49.     Defendant Long Ying International issued bi-weekly paychecks to Plaintiffs and

 4   other Campaign Workers. The check stubs did not: state any address for Long Ying; state the

 5   number of hours worked during any pay period; or include any information to indicate that Long

 6   Ying withheld any money for tax purposes.

 7          50.     On September 30, 2019, Juul announced that it was no longer actively supporting

 8   the Yes on C Campaign. Hours later, the Coalition issued a statement stating that it was

 9   discontinuing the campaign in light of Juul’s decision to stop actively supporting the Campaign.

10          51.     Late on the night of September 30, the Campaign sent a group email out to

11   Campaign Workers. The English translation of the message sent in Spanish to Spanish speaking

12   workers is as follows:

13             We have just learned, and we regret to inform you that the client has decided to
               suspend the effective campaign immediately. We know that this suspension is
14
               abrupt, but we did not expect this news and could not give you more notice.
15             You did a good job. We appreciate your effort and know that your work helped
               the campaign so much.
16

17             All workers will be paid for work until September 30. Your check will be ready
               to pick up on October 3 between 12 p.m. and 5 p.m., and also on October 4,
18             between 12 p.m. and 5 p.m.

19             After October 4, we will mail you your check. The Human Resources
               Department will be available to ensure that everyone receives all their payment
20             and refunds.

21             In conclusion, we want to thank you for all your work and dedication. It was a
               pleasure working with you and we wish you all the best in the future!
22             It is also important, if you have reimbursement receipts, bring them tomorrow
23             from 9am to 5pm at the Taylor Street location.
               If you have any questions, you can come to 25 Taylor Street on Tuesday,
24             Thursday or Friday, during normal business hours (9 am-5pm).
25             All the best,

26             Yes on C Campaign.
            52.     At the Campaign’s instruction, Plaintiff Luz Perez Bautista and others who had
27
     performed administrative and clerical tasks went to work on October 1. Plaintiff Luz Perez
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                          CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   Bautista and the others packed up equipment at the 25 Taylor Street office. At around 3 p.m., one

 2   of the Campaign managers told Plaintiff Luz Perez Bautista and the others at the 25 Taylor Street

 3   office that there was no more work required, that they were also being discharged, and that they

 4   could also pick up their checks on October 3 or October 4 like the other Campaign Workers.

 5          53.      In December 2019, the Coalition issued Plaintiff Luz Perez Bautista an additional

 6   check for $250 directly from the Coalition. This check was dated October 18, 2019. Plaintiff

 7   Salvadora Correa also received an additional check for $100 directly from the Coalition in October

 8   2019. According to the Coalition’s public filings, the Coalition also sent payments of $100 each to

 9   Plaintiff Maria Perez Bautista and 408 other people and $250 to 38 people on October 18, 2019.

10   The Coalition characterized these payments as “Campaign Workers’ Salaries” and did not include

11   any information regarding hours worked.

12                               VI.    CLASS ACTION ALLEGATIONS

13          54.      Plaintiffs bring claims for violations of California’s Labor Code and IWC Wage

14   Order No. 4, and San Francisco’s Administrative Code on behalf of themselves and a Rule 23 class

15   pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure. Plaintiffs seek to certify a Rule

16   23 class (the “Class” or “Campaign Workers”) comprised of:

17             all individuals who were hired by Long Ying International, Inc. to perform
               phone banking, canvassing and/or administrative tasks for the Yes on C
18             Campaign and did perform such work at any time during the period between
               July 2019 and October 2019.
19

20          55.      Plaintiffs seek to certify a subclass (the “Subclass” or “Hybrid Campaign Workers”)

21   comprised of:

22             all Campaign Workers who performed both canvassing and phone banking on
               a single day, and to perform such work were required to work at or out of
23             multiple offices for the Yes on C Campaign during the course of a single
               calendar day.
24

25          56.      Numerosity: The members of the Rule 23 Class are sufficiently numerous that

26   joinder of all members is impracticable. On information and belief, there are approximately 450

27   members of the Campaign Worker Class and approximately 400 members of the Hybrid Campaign

28   Worker Subclass.
                                                      10
                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          57.    Commonality: There are questions of law and fact common to the Class and

 2   Subclass that are answerable on a common basis, and these questions predominate over individual

 3   questions. The questions of law and fact common to the Class and Subclass include, without

 4   limitation:

 5          •      Whether the Class Members were employees or independent contractors for

 6                 purposes of the IWC Wage Order No. 4;

 7          •      Whether the Class Members were employees or independent contractors for

 8                 purposes of the California Labor Code;

 9          •      Whether Class Members were paid all overtime wages due under California law;

10          •      Whether Class Members were paid minimum wage for all hours worked under

11                 California law;

12          •      Whether Class Members were paid minimum wage for all hours worked under the

13                 San Francisco minimum wage ordinance;

14          •      Whether the pay statements provided to Class Members complied with California

15                 law;

16          •      Whether Class Members were paid at the time of separation as required under

17                 California law;

18          •      Whether Subclass Members had to travel between offices during the course of a

19                 single workday, and whether such travel time is compensable time under California

20                 law;

21          •      Whether Subclass Members were compensated for costs incurred to travel between

22                 offices during the course of a single workday and whether such costs are

23                 compensable time under California law; and

24          •      Whether Defendants were employers of Class Members under California law and

25                 the San Francisco Minimum Wage Ordinance.

26          58.    Typicality: Plaintiffs’ claims are typical of the claims of the Class and the Subclass

27   they seek to represent. As set forth herein, Defendants’ common course of conduct caused

28   Plaintiffs the same or similar injuries and damages as other Class Members and Subclass Members
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                          CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   employed by Defendants. Plaintiffs’ claims are thereby representative of and co-extensive with the

 2   claims of the Class and Subclass.

 3          59.     Adequacy: Plaintiffs will fairly and adequately represent the interests of all

 4   members of the Class and Subclass they seek to represent. Plaintiffs are members of the Class and

 5   Subclass they seek to represent, do not have any conflicts of interests with the putative Class and

 6   Subclass Members, will prosecute the case vigorously on behalf of the Class and Subclass, and

 7   have devoted time and resources to the initial investigation of these claims. Plaintiffs’ counsel are

 8   competent and experienced in litigating employment actions, including wage and hour class

 9   actions.

10          60.     Superiority of Class Action: A class action is superior to other available methods for

11   the fair and efficient adjudication of this controversy. Because the damages suffered by certain

12   individual members of the Class may be relatively small, the expense and burden of individual

13   litigation makes it impracticable for Class Members to pursue their claims separately. Class action

14   treatment will allow those members of the Class and Subclass to litigate their claims in the manner

15   that is most efficient and economical for the parties and the judicial system. Class action treatment

16   will also avoid inconsistent outcomes because the same issues can be adjudicated in the same

17   manner for all members of the Class.

18                          VII.    COLLECTIVE ACTION ALLEGATIONS

19          61.     Plaintiffs bring claims under the FLSA as a collective action under 29 U.S.C. §

20   216(b). Members of the Collective Action include:

21              all individuals who were hired by Long Ying International, Inc. to perform
                phone banking, canvassing and/or administrative tasks for the Yes on C
22              Campaign, and performed both canvassing and phone banking, working at or
                out of multiple Campaign offices during the course of a single calendar day at
23              any time during the period between July 2019 and October 2019.
24          62.     Plaintiffs and the Collective Action Members are similarly situated, in that they

25   have performed substantially similar duties for Defendants, and were subject to Defendants’

26   common practice of not paying Campaign Workers who traveled between Campaign offices for all

27   hours worked and not paying them overtime wages for hours worked over 40 hours a week.

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                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1           63.     The violations of the FLSA may be brought and maintained as an “opt-in” collective

 2   action, under 29 U.S.C. § 216(b), because Plaintiffs’ claims are similar to the claims of other

 3   Collective Action Members.

 4           64.     The names and addresses of the Collective Action Members that are eligible to opt-

 5   in are available from Defendants. Accordingly, Plaintiffs pray herein for an order requiring

 6   Defendants to provide the names and all available contact information for all Collective Action

 7   Members, so notice can be provided to them of the pendency of this action, and their right to opt in

 8   to this collective action.

 9                                              VIII. CLAIMS

10                                   FIRST CLAIM
              FAILURE TO PAY FULL WAGES OWED PROMPTLY AT SEPARATION
11                           CALIF. LABOR CODE §§ 201, 203
12                  (ON BEHALF OF PLAINTIFFS, CLASS AND SUBCLASS)

13           65.     The allegations in all of the preceding paragraphs are realleged and incorporated

14   herein by reference.

15           66.     Calif. Labor Code § 201 requires an employer who discharges an employee to pay

16   all compensation due and owing to that employee immediately upon discharge. Calif. Labor Code

17   § 203 provides that if an employer willfully fails to pay compensation promptly upon discharge, as

18   required by § 201, then the employer is liable for waiting time penalties in the form of continued

19   compensation of up to 30 work days.

20           67.     Defendants willfully failed to issue final paychecks until several days after

21   Defendants abruptly terminated Plaintiffs and other Class Members.

22           68.     Defendants have also never paid to Plaintiffs and the Subclass all wages accrued at

23   time of termination, including unpaid minimum wage, overtime compensation, and meal period

24   premiums.

25           69.     As a result, Plaintiffs, the Class, and the Subclass are entitled to recovery of

26   penalties under § 203, interest thereon, attorneys’ fees and costs, and such other legal and equitable

27   relief as the Court deems just and proper.

28   //
                                                        13
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1                                   SECOND CLAIM
                     FAILURE TO FURNISH ACCURATE WAGE STATEMENTS
 2                               CALIF. LABOR CODE § 226
 3                         (ON BEHALF OF PLAINTIFFS AND CLASS)

 4             70.   The allegations in all of the preceding paragraphs are realleged and incorporated

 5   herein by reference.

 6             71.   Calif. Labor Code § 226(a) require employers semi-monthly or at the time of each

 7   payment of wages to furnish each employee with a statement itemizing, among other things, the

 8   total hours worked by the employee. Calif. Labor Code § 226(e) provides that if an employer

 9   knowingly and intentionally fails to provide a statement itemizing, among other things, the total

10   hours worked by the employee, then the employee is entitled to recover the greater of all actual

11   damages or fifty dollars ($50) for the initial pay period in which the violation occurred and one

12   hundred dollars ($100) for each subsequent pay period, up to four thousand dollars ($4,000).

13             72.   Defendants knowingly and intentionally failed to furnish Plaintiffs and other Class

14   Members with timely, itemized statements showing the total hours worked and the name and

15   address of the legal entity that paid Plaintiffs.

16             73.   Plaintiffs, on behalf of themselves and other Class Members, request penalties under

17   § 226(e), as well as attorneys’ fees and costs and such other legal and equitable relief as the Court

18   deems just and proper.
                                              THIRD CLAIM
19
                          FAILURE TO PAY CALIFORNIA MINIMUM WAGE
20        CALIF. 1182.11, 1182.12, 1194, 1194.2 & 1197, CALIF. IWC WAGE ORDER NO. 4 § 4, &
                                       MINIMUM WAGE ORDER
21                          (ON BEHALF OF PLAINTIFFS AND SUBCLASS)
22             74.   The allegations in all of the preceding paragraphs are realleged and incorporated

23   herein by reference.

24             75.   Calif. Labor Code §§ 1182.11, 1182.12, 1194, and 1197, Calif. IWC Wage Order

25   No. 4, § 4, and the Calif. Minimum Wage Order, all require that employees receive the minimum

26   wage for all hours worked.

27   //

28   //
                                                         14
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          76.     Calif. Labor Code § 1194 entitles an employee receiving less than the minimum

 2   wage to recover in a civil action the unpaid balance of the full amount of this minimum wage,

 3   including interest thereon, reasonable attorneys’ fees, and costs of suit.

 4          77.     Calif. Labor Code § 1194.2 entitles an employee receiving less than the legal

 5   minimum wage to recover liquidated damages in an amount equal to the wages unlawfully unpaid

 6   and interest thereon.

 7          78.     Calif. Labor Code § 1197.1 subjects an employer or other person who caused an

 8   employee to be paid a wage less than the minimum wage to: (1) a civil penalty equal to one

 9   hundred dollars ($100) for each underpaid employee for each pay period in which the employee is

10   underpaid for an initial violation that is intentionally committed; (2) a civil penalty equal to two

11   hundred fifty dollars ($250) for a subsequent violation for the same specific offense for each

12   underpaid employee for each pay period regardless of whether the initial violation is intentionally

13   committed; (3) restitution of wages; and (4) liquidated damages, all payable to the employee.

14          79.     Plaintiffs, on behalf of themselves and other Subclass Members, were required to

15   travel to multiple Campaign offices during the course of a workday but were not paid for this

16   work-related travel time. This travel time typically occurred between signing out at the end of their

17   first shift and reporting to their second shift of the workday. The failure to pay for such travel time

18   violated Plaintiffs and other Subclass Members right to receive the minimum wage for all hours

19   worked.

20          80.     As a result of Defendants’ unlawful acts, Plaintiffs and other Subclass Members

21   have been deprived of wages owed them in an amount to be determined at trial, and, under Calif.

22   Labor Code § 1194, are entitled to recover of such amount, plus interest thereon, liquidated

23   damages, attorneys’ fees and costs. and such other legal and equitable relief as the Court deems just

24   and proper.

25   //

26   //

27   //

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                                                       15
                             CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1                                     FOURTH CLAIM
                       FAILURE TO PAY SAN FRANCISCO MINIMUM WAGE,
 2                              SAN FRAN. ADMIN. CODE § 12R.4
 3                        (ON BEHALF OF PLAINTIFFS AND SUBCLASS)
            81.     The allegations in all of the preceding paragraphs are realleged and incorporated
 4
     herein by reference.
 5
            82.     San Francisco Administrative Code § 12R.4 requires that employees receive the
 6
     local minimum wage for all hours worked.
 7
            83.     During all relevant periods after, the San Francisco Administrative Code defines
 8
     “employee” as any person entitled to payment under the California minimum wage law who works
 9
     at least two (2) hours per week within the geographic boundaries of the city, and an “employer” as
10
     any person as defined in Section 18 of the California Labor Code, including corporate officers or
11
     executives, who directly or indirectly or through an agent or any other person, including through
12
     the services of a temporary services or staffing agency or similar entity, employs or exercises
13
     control over the wages, hours or working conditions of any employee. See S.F. Admin. Code
14
     Chap. 12R.3.
15
            84.     The San Francisco Administrative Code further entitles an employee receiving less
16
     than the local minimum wage to recover in a civil action the payment of any back wages
17
     unlawfully withheld, the payment of an additional sum as liquidated damages in the amount of fifty
18
     dollars ($50.00) to each employee for each day that the violation occurred, reasonable attorneys’
19
     fees, and costs. See S.F. Admin. Code Chap. 12R.7.
20
            85.     Plaintiffs, on behalf of themselves and other Subclass Members, were required to
21
     travel to multiple Campaign offices during the course of a workday but were not paid for this
22
     work-related travel time. This travel time typically occurred between signing out at the end of their
23
     first shift and reporting to their second shift of the workday. The failure to pay for such travel time
24
     violated Plaintiffs and other Subclass Members right to receive a minimum wage for all hours
25
     worked.
26
            86.     As a result of Defendants’ unlawful acts, Plaintiffs and other Subclass Members
27
     have been deprived of wages owed them in an amount to be determined at trial, and, are entitled
28
                                                       16
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   under San Francisco Administrative Code § 12R.7(d)–(e) to recover of such amount, plus interest

 2   thereon, $50 penalties for each day worked, attorneys’ fees and costs, and such other legal and

 3   equitable relief as the Court deems just and proper.

 4                                      FIFTH CLAIM
                              FAILURE TO PAY OVERTIME WAGES
 5                CALIF. LABOR CODE §§ 510, 1194 & IWC WAGE ORDER NO. 4, § 3
 6                        (ON BEHALF OF PLAINTIFFS AND SUBCLASS)

 7          87.      The allegations in all of the preceding paragraphs are realleged and incorporated

 8   herein by reference.

 9          88.      Plaintiffs, on behalf of themselves and other Subclass Members, were required to

10   travel to multiple Campaign offices during the course of a workday but were not paid for this

11   work-related travel time. This travel time occurred between signing out at the end of their first shift

12   and reporting to their second shift of the workday. This uncompensated work-related travel caused

13   Plaintiffs and other Subclass Members to work over eight hours in a day and over 40 hours in a

14   week, but Defendants did not pay them – much less overtime premium compensation – for such

15   overtime hours.

16          89.      By failing to pay overtime compensation to Plaintiffs, as alleged above, Defendants

17   violated Calif. Labor Code § 510 and IWC Wage Order No. 4, § 3.

18          90.      Defendant Ho violated or caused to be violated the provisions of I.W.C. Wage

19   Order No. 4 governing wages or hours and days or work.

20          91.      As a result of Defendants’ unlawful acts, Plaintiffs, on behalf of themselves and

21   other Subclass Members, have been deprived of overtime compensation in an amount to be

22   determined at trial, and, under Calif. Labor Code § 1194 are entitled to recovery of such amounts,

23   plus interest thereon, and attorneys’ fees and costs, and such other legal and equitable relief as the

24   Court deems just and proper.

25   //

26   //

27   //

28   //
                                                       17
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1                                                SIXTH CLAIM

 2             FAILURE TO REIMBURSE FOR NECESSARY BUSINESS EXPENSES
                              CALIF. LABOR CODE § 2802
 3                     (ON BEHALF OF PLAINTIFFS AND SUBCLASS)

 4          92.     The allegations in all of the preceding paragraphs are realleged and incorporated

 5   herein by reference.

 6          93.     Calif. Labor Code § 2802 requires employers to indemnify each employee “for all

 7   necessary expenditures or losses incurred by the employee in direct consequence of the discharge

 8   of his or her duties, or of his or her obedience to the directions of the employer.”

 9          94.     Defendants failed to indemnify and reimburse Plaintiffs and other Subclass

10   Members for necessary expenditures they incurred as a direct result of the duties they performed

11   for the Defendants’ benefit, including by not fully indemnifying employees for the expenses

12   required to travel between the Defendants’ offices during the course of their workday.

13          95.     As a result, Plaintiffs, on behalf of themselves and other Subclass Members, seek

14   unreimbursed expenses, interest, costs incurred, attorneys’ fees, and such other legal and equitable

15   relief as the Court deems just and proper.

16
                                    SEVENTH CLAIM
17
                           FAILURE TO PROVIDE MEAL PERIODS
18             CALIF. LABOR CODE §§ 226.7, 512 & IWC WAGE ORDER NO. 4, § 11
                        (ON BEHALF OF PLAINTIFFS AND SUBCLASS)
19

20          96.     The allegations in all of the preceding paragraphs are realleged and incorporated

21   herein by reference.

22          97.     Calif. Labor Code §§ 226.7, 512 and IWC Wage Order No. 4, § 11 require

23   employers to provide employees who work five or more hours a day an uninterrupted half-hour

24   meal period in which they were relieved of all duties.

25          98.     Defendants did not provide Plaintiffs and other Subclass Members who were

26   required to travel to multiple Campaign offices during the course of a workday an uninterrupted

27   half-hour meal period in which they were relieved of all duties.

28   //
                                                       18
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          99.     As a result, Plaintiffs, on behalf of themselves and other Subclass Members, seek

 2   premium pay for missed meal periods, interest, and such other legal and equitable relief as the

 3   Court deems just and proper.

 4                                       EIGHTH CLAIM
                          VIOLATIONS OF UNFAIR COMPETITION LAW
 5                          CALIF. BUS. & PROF. CODE § 17200 ET SEQ.
 6                     (ON BEHALF OF PLAINTIFFS, CLASS, AND SUBCLASS)

 7          100.    The allegations in all of the preceding paragraphs are realleged and incorporated

 8   herein by reference.

 9          101.    Calif. Business & Professions Code § 17200 prohibits unfair competition in the

10   form of any unlawful, unfair, or fraudulent business act or practice.

11          102.    Calif. Business & Professions Code § 17204 allows “any person acting for the

12   interests of itself, its members or the general public” to prosecute a civil action for violation of the

13   UCL.

14          103.    Defendants improperly, fraudulently, and unlawfully classified their Campaign

15   Workers as “independent contractors” and have thereby committed unlawful, unfair, and/or

16   fraudulent business acts and practices as defined by Calif. Business & Professions Code § 17200.

17   Further, Defendants also engaged in the following, as to the Subclass (a) failing to pay regular and

18   overtime compensation to Hybrid Campaign Workers, as required by federal and California law;

19   (b) failing to indemnify to Hybrid Campaign Workers for employment-related business expenses

20   and losses; and (c) failing to provide meal periods to to Hybrid Campaign Workers.

21          104.    These violations of these laws serve as unlawful, unfair, and/or fraudulent predicate

22   acts and practices for purposes of Calif. Business and Professions Code § 17200.

23          105.    As a direct and proximate result of Defendants’ unlawful, unfair, and/or fraudulent

24   acts and practices described herein, Defendants have received and continue to hold ill-gotten gains

25   belonging to Plaintiffs. As a direct and proximate result of Defendants’ unlawful business

26   practices, Plaintiffs have suffered economic injuries including, but not limited to funds spent on

27   expenses for the Defendants’ benefit, unpaid compensation for missed meal periods, and unpaid

28
                                                        19
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1   overtime and regular wages. Defendants have profited from their unlawful, unfair, and/or

 2   fraudulent acts and practices.

 3          106.    Pursuant to Calif. Business & Prof. Code §17203, Plaintiffs are entitled to: (a)

 4   restitution of money acquired by Defendant by means of their unfair business practices, in amounts

 5   not yet ascertained but to be ascertained at trial; and (b) a declaration that Defendants’ business

 6   practices are unfair within the meaning of the statute.

 7          107.    Plaintiffs have assumed the responsibility of enforcement of the laws and lawful

 8   claims specified herein. There is a financial burden incurred in pursuing this action which is in the

 9   public interest. Therefore, reasonable attorneys’ fees are appropriate pursuant to Calif. Code of

10   Civil Procedure § 1021.5.

11          108.    Plaintiffs request relief as described below.

12                                             NINTH CLAIM

13                      FAILURE TO PAY OVERTIME WAGES
                            FLSA, 29 U.S.C. § 201 ET SEQ.
14       (ON BEHALF OF PLAINTIFFS AND FLSA COLLECTIVE ACTION MEMBERS)

15          109.    The allegations in all of the preceding paragraphs are realleged and incorporated

16   herein by reference.

17          110.    The FLSA, 29 U.S.C. § 207, provides employees with the right to receive

18   compensation at “one and one-half times the regular rate at which [they are] employed” for hours

19   worked in excess of forty hours a week.

20          111.    Plaintiffs and other Collective Action Members were required to travel to multiple

21   Campaign offices during the course of a workday but were not paid for this work-related travel

22   time. This travel time typically occurred between signing out at the end of their first shift and

23   reporting to their second shift of the workday. This uncompensated work-related travel caused

24   Plaintiffs and other Collective Action Members to work over 40 hours in a week, but Defendants

25   did not pay them overtime premium compensation for such overtime hours.

26          112.    By failing to pay overtime premium pay for hours worked by Plaintiffs and

27   Collective Action Members in excess of 40 hours in a week, Defendants have violated the FLSA,

28   29 U.S.C. §§ 201, et. seq., including 29 U.S.C. §§ 207(a)(1), 215(a).
                                                      20
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          113.    As a result of Defendants’ unlawful acts, Plaintiffs and Collective Action Members

 2   have been deprived of wages owed to them in an amount to be determined at trial, and are entitled

 3   to recover of such amount, and liquidated damages, as provided by the FLSA, 29 U.S.C. § 216(b),

 4   plus interest thereon, attorneys’ fees and costs and such other legal and equitable relief as the Court

 5   deems just and proper.

 6                                     IX.       PRAYER FOR RELIEF

 7   WHEREFORE, Plaintiffs request relief as follows:

 8          A.      An award to Plaintiffs, on behalf of themselves and other members of the Class, of

 9                  waiting time penalties and interest thereon, subject to proof at trial;

10          B.      An award to Plaintiffs, on behalf of themselves and other members of the Class, of

11                  statutory penalties because of Defendants’ failure to provide Plaintiffs with itemized

12                  wage statements that comply with the requirements of Calif. Labor Code § 226,

13                  subject to proof at trial;

14          C.      An award to Plaintiffs, on behalf of themselves and other members of the Subclass,

15                  of damages in the amount of unpaid wages, liquidated damages, necessarily

16                  incurred business expenses, premium wages for failure to provide required meal

17                  periods, penalties, and interest thereon, subject to proof at trial;

18          D.      An order requiring Defendants to pay restitution of all amounts owed to Plaintiffs,

19                  on behalf of themselves and other members of the Class and Subclass, for

20                  Defendants’ misclassification of the Class and failure to pay the Subclass accrued

21                  wages, failure to reimburse the Subclass for necessarily incurred business expenses,

22                  and failure to provide the Subclass required meal periods, as well as interest

23                  thereon, in an amount according to proof, pursuant to Business & Professions Code

24                  § 17203;

25          E.      An award to Plaintiffs and other members of the Collective Action, of damages in

26                  the amount of unpaid overtime wages, liquidated damages, and interest thereon,

27                  subject to proof at trial;

28
                                                        21
                           CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
 1          F.        An award to Plaintiffs of reasonable attorneys’ fees and costs, pursuant to Calif.

 2                    Code of Civil Procedure § 1021.5, Calif. Labor Code §§ 218.5, 226, 1194, and

 3                    2802, 29 U.S.C. § 216, and/or any other applicable law; and

 4          G.        An award to Plaintiffs of such other and further relief as this Court deems just and

 5                    proper.

 6   DATED: March 4, 2020                           LEONARD CARDER, LLP
 7

 8                                                  By:        /s/ Aaron D. Kaufmann
                                                               AARON D. KAUFMANN
 9

10
     DATED: March 4, 2020                           LEGAL AID AT WORK
11

12                                                  By:        /s/ George A. Warner
                                                               GEORGE A. WARNER
13
                                                    Attorneys for Plaintiffs
14

15
                                SIGNATURE ATTESTATION Local Rule 5-1(i)(3)
16          I, Aaron Kaufmann, attest that the other signatory to this document concurs in the filing of
17   this document.
18                                                    /s/ Aaron D. Kaufmann
                                                            Aaron D. Kaufmann
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                                                          22
                            CLASS/COLLECTIVE ACTION COMPLAINT FOR DAMAGES
